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                                                                                    2023 Aug-10 PM 07:51
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION



 EVAN MILLIGAN, et al.,

                Plaintiffs,
                                                    No. 2:21-cv-01530-AMM
                vs.                                    (three-judge court)

 WES ALLEN, et al.,

                Defendants.



                      MILLIGAN PLAINTIFFS’ EXHIBIT LIST

       Pursuant to the Court’s July 27, 2023 Order, Doc. 194, the Milligan

plaintiffs make the following pre-hearing disclosure of hearing exhibits.

      I.       List of Exhibits Plaintiffs’ Intend to Offer.

       Plaintiffs list of exhibits they may use during the course of the remedial

hearing commencing August 14, 2023 is set out below.

                          Milligan Plaintiffs’ Hearing Exhibits
 Exh. #       Description                                              ECF Doc #
 M1           Population Summary, “Livingston Congressional Plan       200-1
              3,” Alabama Permanent Reapportionment Committee
              (July 20, 2023)
 M2           Remedial Expert Report of Boadong Liu                    200-2
              (Jul. 28, 2023)
 M3           Alabama Performance Analysis                             200-3
 M4           Text of Senate Bill 5 (2023)                             200-4
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M5       Jeff Poor, State Rep. Pringle: Proposal to create      200-5
         second Democrat congressional district could help
         GOP — ‘I call it the Republican opportunity plan’,
         YELLOWHAMMER NEWS (Oct. 31, 2021)
M6       Press Release, Permanent Legis. Comm. on               200-6
         Reapportionment (June 21, 2023)
M7       VRA Plaintiffs’ letter to Reapportionment Committee    200-7
         (June 26, 2023)
M8       VRA Plaintiffs’ letter to Dorman Walker                200-8
         (July 11, 2023)
M9       Declaration of Rep. Samuel Jones (July 27, 2023)       200-9
M10      Mike Cason, GOP lawmakers pass Alabama                 200-10
         congressional map; Democrats say it defies Supreme
         Court, AL.com (July 22, 2023)
M11      Zach Montellaro, Alabama’s redistricting brawl         200-11
         rehashes bitter fight over voting rights, POLITICO
         (July 21, 2023),
M12      Assoc. Press, The fight over Alabama’s congressional   200-12
         redistricting now shifts back to federal court, ALA.
         DAILY NEWS (July 24, 2023),
M13      Rep. Terri Sewell: Alabama ‘Shamelessly’ Ignores       200-13
         U.S. Supreme Court, BIRMINGHAM TIMES
         (July 22, 2023)
M14      Jeff Poor, State Rep. Simpson on redistricting: ‘It    200-14
         would not surprise me if we have seven Republican
         congressmen’ after 2024 election, 1819 NEWS
         (July 16, 2023)
M15      Remedial Expert Report of Dr. Joseph Bagley            200-15
         (July 28, 2023)
M16      Dr. Hood’s performance analysis of Community of        238-1
         Interest Plan
M17      Defendant Sen. Livingston’s Responses to Plaintiffs’   238-2
         Third Set of Interrogatories (Aug. 9, 2023)
M18      Alabama Legislature’s SB5 Population Summary           Caster ECF
                                                                No. 179-1
M19      Expert Report of Maxwell Palmer in Support of Caster Caster ECF
         Plaintiffs’ Objections (July 28, 2023)                 No. 179-2
M20      Defendant Rep. Pringle’s Response to Plaintiffs’ Third 238-3
         Set of Interrogatories (Aug. 9, 2023)
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M21        Community of Interest Plan Map                              238-4
M22        Livingston 1 Plan Map                                       238-5
M23        Livingston 2 Plan Map                                       238-6
M24        Community of Interest Plan Population Summary               238-7
M25        2021 Reapportionment Committee Redistricting                238-8
           Guidelines (May 5, 2021)
M26        Russell Split Plan Map                                      238-9
M27        Expanded Black Belt Plan Map                                238-10
M28        Whole Jefferson County Plan Map                             238-11
M29        Email (RC049603-04)                                         238-12
M30        INTENTIONALLY OMITTED
M31        Caleb Talor. House, Senate committees narrow                238-14
           redistricting plans down to two 1819 NEWS
           (July 18, 2023)
M32        Alexander Rocha et al., Alabama Legislature passes          238-15
           controversial congressional map, ALABAMA
           REFLECTOR (July 21, 2023)
M33        Talking point (RC049608-16)                                 238-16
M34        INTENTIONALLY OMITTED
M35        Proposed amendment to reapportionment committee             238-17
           guidelines (RC049228)
M36        July 12, 2023 Reapportionment Committee Agenda              238-18
           (RC049228)
M37        INTENTIONALLY OMITTED
M38        James Stephenson, et al., Alabama House, Senate             238-19
           Approve Separate Congressional Maps, BIRMINGHAM
           WATCH (July 20, 2023)
M39        Opportunity Plan Population Summary (RC049515)              238-20
M40        Talking points (RC049571-72)                                238-21
M41        Talking points (RC049573-76)                                238-22
M42        Talking points (RC049577-80)                                238-23

 II.        List of Stipulated Exhibits.

      The parties have not stipulated the admission of any exhibits.
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   III.       Reservation of Rights to Supplement Based on Ongoing
              Discovery.

      The parties are awaiting deposition transcripts and videos and Plaintiffs

reserve the right to add depositions, related exhibits, and other evidence to this list.



Respectfully submitted,


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